UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      4/9/2025
 METROPOLITAN TRANSPORTATION
 AUTHORITY, et al.,

                                 Plaintiffs,
                                                                          25-cv-1413 (LJL)
                -v-

 SEAN DUFFY, et al.                                                            ORDER

                                 Defendants.



LEWIS J. LIMAN, United States District Judge:

       The Court adopts as an Order of the Court the case schedule agreed to by the parties and

discussed at the initial pretrial conference on April 9, 2025.

       Amendments to complaints are due April 18, 2025.

       Defendants’ answer to the amended complaint or complaints is due May 27, 2025.

       Defendants shall produce the administrative record by May 27, 2025. Defendants shall

inform the Court by no later than April 23, 2025 whether they anticipate the administrative

record to include any documents other than Secretary Duffy’s letter dated February 19, 2025.

       Motions to complete or supplement the record, or for extra record discovery, are due June

24, 2025. Oppositions to such motions are due July 15, 2025. Replies in support of such

motions are due July 29, 2025.

       Defendants’ motion for summary judgment must be filed within thirty days of resolution

of the last of any motions for discovery and completion of the last of any resulting discovery

and/or supplementation of the record. Plaintiffs’ and Intervenors’ cross-motions for summary

judgment and opposition to Defendants’ motion for summary judgment are due thirty days

thereafter. Defendants’ reply in support of their motion for summary judgment and in opposition
to Plaintiffs’ and Intervenors’ cross-motions for summary judgment is due fourteen days

thereafter. Plaintiffs’ and Intervenors’ replies in support of their motions for summary judgment

are due fourteen days thereafter.




       SO ORDERED.


Dated: April 9, 2025                                __________________________________
       New York, New York                                      LEWIS J. LIMAN
                                                           United States District Judge




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